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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                              Case No. 4:14-cr-00060-01 KGB

GERARDO CAMPOS-CUIN                                                              DEFENDANT

                                            ORDER

        The Court, on its own motion, enters this Order pursuant to Federal Rule of Criminal

Procedure 35(a) to correct defendant Gerardo Campos-Cuin’s sentence that resulted from

arithmetical, technical, or other clear error. When contacted by the Court, all parties waived a

hearing on this matter.

        On May 4, 2017, this Court sentenced Mr. Campos-Cuin to 108 months in prison, 5 years

of supervised release to follow, and a $100 mandatory special assessment (Dkt. No. 74). The Court

entered Judgment reflecting that sentence on May 5, 2017 (Dkt. No. 75).

        The Court, after discussing the matter with the United States Probation Office, concludes

that the Court miscalculated Mr. Campos-Cuin’s base offense level at sentencing. At sentencing,

the Court determined that the base offense level for Mr. Campos-Cuin’s possessing with intent to

distribute more than 50 grams of actual methamphetamine, because it involved 4.5 kilograms or

more of methamphetamine actual, was 38. Pursuant to United States Sentencing Guideline

(“USSG”) § 2D1.1(a)(5)(A) and (B)(iii), because the offense level is 38 and Mr. Campos-Cuin

receives an adjustment under USSG § 3B1.2 for mitigating role, Mr. Campos-Cuin’s base offense

level is 34.

        From a base offense level 34, Mr. Campos-Cuin receives a two-level reduction under

USSG § 2D1.1(b)(17) and § 5C1.2, a two-level reduction under USSG § 3B1.2(b) for being a
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minor participant in the criminal activity, and a three-level reduction for acceptance of

responsibility under USSG § 3E1.1. His total offense level is 27.

       With this change to his total offense level, the Court’s sentencing options also change. In

regard to custody, Mr. Campos-Cuin’s guideline imprisonment range is 70 to 87 months. Because

Mr. Capos-Cuin qualifies under USSG § 5C1.2(a), the Court shall impose sentence in accordance

with the applicable guideline range without regard to any statutory minimum sentence.

       The Court imposes the following amended sentence: 70 months imprisonment, 5 years

supervised release, and a $100 mandatory special assessment. The Court’s recommendations

regarding Mr. Campos-Cuin’s term of imprisonment and the general and special conditions

imposed on Mr. Campos-Cuin during supervised release remain the same (Dkt. No. 75). The Court

orders that an amended and corrected Presentence Investigation Report be prepared by the United

States Probation Office and released to the lawyers for the parties. The Court will enter an

amended Judgment in this case to reflect the Court’s correction under Federal Rule of Criminal

Procedure 35(a).

       It is so ordered this 11th day of May, 2017.



                                                      _________________________________
                                                      Kristine G. Baker
                                                      United States District Judge




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